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                  IN THE UNITED STATES DISTRICT COURT
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                FOR THE CENTRAL DISTRICT OF CALIFORNIA
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12                                            Case No. 20-CR-00213-JAK
     UNITED STATES OF AMERICA,
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                       Plaintiff,
14                                            ORDER OF DETENTION AFTER
                  v.                          HEARING (Fed.R.Crim.P. 32.1(a)(6)
15                                            Allegations of Violations of
     JOHN JOSEPH CLEMENT,                     Probation/Supervised Release
16                                            Conditions)
                       Defendant.
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           On arrest warrant issued by a United States District Court involving alleged
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     violations of conditions of probation or Supervised Release,
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           The Court finds no condition or combination of conditions that will
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     reasonably assure:
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           ☐      the appearance of defendant as required; and/or
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           ☒      the safety of any person or the community.
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      Case 2:20-cr-00213-JAK Document 77 Filed 10/04/21 Page 2 of 2 Page ID #:436



1         The Court concludes:
2         ☐ Defendant poses a risk of nonappearance, and the Court finds that
3         defendant has not demonstrated by clear and convincing evidence that
4         he/she does not pose such a risk. The risk of nonappearance is based on:
5         ☒ Defendant poses a danger to the community, and the Court finds that
6         defendant has not demonstrated by clear and convincing evidence that he
7         does not pose such a risk. The risk of danger is based on: instant allegations
8         in addition to additional threatening communication allegedly made on
9         October 1, 2021 (see SRV packet); criminal history; similarity of instant
10        allegations to underlying offense conduct.
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12        IT IS THEREFORE ORDERED that the defendant be detained.
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     Dated: 10/4/2021                     ____________________________________
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                                          HON. ROZELLA A. OLIVER
16                                        UNITED STATES MAGISTRATE JUDGE
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